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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

                    MEMORANDUM OF LAW IN SUPPORT OF
                   DEFENDANT’S MOTION FOR ISSUANCE OF A
                RULE 17(c) SUBPOENA RETURNABLE BEFORE TRIAL

       Defendant Gary DeCicco submits this memorandum of law in support of his Motion for

Issuance of Fed. R. Crim. P. 17(c) Subpoenas Duces Tecum to MarJam Supply Company

(“MarJam”). The proposed subpoenas seek documents and information that relate to a number

of the events which are the basis for the charge of attempted extortion in violation of 18 U.S.C. §

1951. The documents sought are relevant, admissible, and narrowly targeted, satisfying the

three-part showing required by Rule 17(c) and United States v. Nixon, 418 U.S. 683, 699-800

(1974), and its progeny. Mr. DeCicco seeks leave to issue the proposed subpoenas because they

call for the requested documents and information to be returned prior to trial, specifically by May

25, 2018.

                                      RELEVANT FACTS

       Prior to the charge in this case, Mr. DeCicco and CW-1 lived side-by-side as neighbors

for over 15 years. The Indictment charges Mr. DeCicco with one count of attempted extortion in

violation of the Hobbs Act, 18 U.S.C. § 1951. Dkt No. 23. It alleges that from 2013 through

January 11, 2015, Mr. DeCicco unlawfully “attempted to obtain an interest in [CW-1’s]

automobile dealership from [CW-1] with his consent, induced by wrongful use of actual and
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threatened force, violence, and fear.” Dkt No. 23. The government’s theory is, in sum and

substance, that in 2013, Mr. DeCicco requested to become CW-1’s partner in the operation of the

automobile dealership, Auto Excellence Group; CW-1 later rejected Mr. DeCicco’s overture; Mr.

DeCicco responded by sending CW-1 a delivery of flowers, a cross, a note, and pizza, as well as

making threatening and harassing calls in August 4-6, 2014; and Mr. DeCicco subsequently

arranged for CW-1 to be assaulted on January 11, 2015. See Dkt. No. 3-1.

       During the investigation and prosecution of this case against Mr. DeCicco, CW-1 has

stated to law enforcement, and testified in the grand jury, that Mr. DeCicco first asked to be

partners with him in Auto Excellence Group sometime during the dealership’s construction,

which took place from the fall of 2013 until approximately June 2014. CW-1 has stated that he

was in frequent contact with Mr. DeCicco in at least the first quarter of 2014 because he “needed

DeCicco’s help with construction advice, paving and dealing with Peter Varone,” his general

contractor. Exhibit 1, Confidential Human Source (“CHS”) Report dated April, 12, 2018. CW-1

has also admitted to discussing financing with Mr. DeCicco before the construction of Auto

Excellence Group was complete, stating that he was running low on cash and was having trouble

paying his invoices, which would include those owed to MarJam, one of the construction

materials suppliers for Auto Excellence Group. The evidence will show that as disputes with his

contractors mounted over his short-payment of their invoices, CW-1 became aggressive and

abusive to them, requiring Mr. DeCicco to mediate several of these disputes himself. On August

8, 2014, MarJam filed a Notice of Contract on August 8, 2014 against Sahar LLC and Auto

Excellence Group, stating that the contract price for materials and services was $36,619.73, they

had received $27,048.43, and were owed $9,571.30, two months after Auto Excellence Group

opened for business.



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        At trial, the defense will show that Mr. DeCicco never requested to be CW-1’s business

partner. To the contrary, Mr. DeCicco, a real estate developer with longstanding relationships

with many of the Auto Excellence Group contractors, had numerous persuasive reasons to avoid

any type of business relationship with CW-1, including that CW-1 had unsatisfactory working

relationships with contractors and would regularly cheat them—including contractors with whom

Mr. DeCicco regularly did business and were friendly. This directly undercuts the government’s

theory that Mr. DeCicco wanted to be associated with CW-1 or tainted with CW-1’s reputation.

                                       LEGAL ANALYSIS

        Fed. R. Crim. P. 17(c) requires a defendant seeking pretrial return of documents from a

non-party to show (1) the requested documents are evidentiary and relevant; (2) the requested

documents are not otherwise obtainable reasonably in advance of trial by exercise of due

diligence; (3) he cannot properly prepare for trial without inspecting such documents in advance

of trial and that the failure to obtain such inspection may tend to unreasonably delay the trial; and

(4) the application is made in good faith and is not a general “fishing expedition.” Nixon, 418

U.S. 683, 699-700; United States v. LaRouche Campaign, 841 F.2d 1176, 1179 (1st Cir. 1988).

Mr. DeCicco’s proposed subpoenas satisfy all of these criteria.

        A.      The Requested Records Are Evidentiary and Relevant to the Defendant’s
                Defense.

    Mr. DeCicco requests the following documents through a subpoena duces tecum to be

returnable before trial:

        (1)   invoices, payments, and communications regarding payments (or lack thereof)

              relating to materials supplied for the construction of Auto Excellence Group at 173

              Main Street, Saugus, MA from June 1, 2013 – August 8, 2014; and




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        (2)   the documents relied on to prepare and file the Notice of Contract filed August 8,

              2014 filed against Sahar LLC and Auto Excellence Group.

The requested business records and documents are relevant to disprove that Mr. DeCicco ever

desired or attempted to obtain an interest in Auto Excellence Group. Documentation of the non-

payment of contractors and subcontractors during the construction of Auto Excellence Group

would tend to undercut the government’s theory of why Mr. DeCicco committed the allegedly

extortionate acts because, among other things, Mr. DeCicco would not want to assume a

partnership or ownership stake in CW-1’s business because he knew that Auto Excellence Group

was not a sustainable business model and had multiple outstanding claims against it arising out

of non-payment of contractors. Mr. DeCicco’s knowledge of these events and claims can be

shown from CW-1’s testimony that he discussed his disputes with contractors with Mr. DeCicco;

Mr. DeCicco also was close friends with Peter Varone, the general contractor, who oversaw the

construction project itself.

        Importantly, the requested business records and documents are relevant in light of the

government’s recent production of CW-1’s witness statements that reflect his anticipated trial

testimony, which Mr. DeCicco has a right to confront and cross-examine. In a CHS Report

dated March 28, 2017, CW-1 stated that “[a]ll the subcontractors that worked at the Auto

Excellence Group got paid except for the individual that worked on the elevator.” Exhibit 2.

The requested documents comprise evidence that CW-1 rebuts this falsehood.

        Any records obtained would be admissible at trial under the hearsay exception for

business records, Fed. R. Evid. 803(6), or authenticated through live witnesses during trial, Fed.

R. Evid. 901. Accordingly, the requested information is necessary to adequately prepare for the

defense of this matter and would be admissible at trial.



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       B.      The Defendant is Unable to Procure These Records in Advance of Trial.

       Despite discovery requests on this topic, the government has not produced the records

sought by the Subpoena and it is Mr. DeCicco’s understanding that the government is not in

possession, custody, or control of the requested business records and documents. A Rule 17(c)

subpoena, seeking return before trial, is the only way that Mr. DeCicco can obtain the requested

business records and documents prior to trial.

       C.      Inspection and Review in Advance of Trial is Necessary.

       Mr. DeCicco needs the requested documents in advance of his trial in order to make

appropriate use of them and to prepare for his defense. Any records and documents obtained by

the Subpoena may be relatively voluminous, and will some need to be reviewed and analyzed.

Additionally, it is possible the record custodians will object to producing the requested records,

which may require additional motion practice. Accordingly, Mr. DeCicco submits that

production of the records in advance of trial is necessary in order for him to be able to make

productive use of them at trial and so as to not unnecessarily delay the trial.

       D.      The Defendant Has a Good Faith Basis to Seek the Requested Documents
               and the Request is Not a Fishing Expedition.

       This request is not a fishing expedition; rather Mr. DeCicco has a good faith basis to

believe that the requested records exist and are relevant to the defense based on investigation and

review of discovery produced by the government. The Subpoena is narrowly tailored to a

discrete 14-month timeframe within the relevant time period during MarJam’s interaction with

CW-1 in the context of the construction of Auto Excellence Group, targets only records

pertaining to MarJam’s contact and dispute with Auto Excellence Group, and provides as much

information as is available to identify the records sought, including attaching, as a reference




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exhibit, the Notice of Contract that MarJam filed against Auto Excellence Group on August 8,

2014.

                                        CONCLUSION

        For the reasons stated herein, Defendant Gary P. DeCicco respectfully requests that this

Court allow his Motion for Issuance of a Rule 17(c) Subpoena and enter an Order issuing a Rule

17(c) subpoena in the form attached as Exhibit A to the Motion, returnable before trial.

                                                    Respectfully submitted,

                                                    GARY P. DECICCO

                                                    By his attorneys,

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                              CERTIFICATE OF SERVICE


        I hereby certify that a true copy of the above document was filed on May 22, 2018
through the CM/ECF system and will be served electronically to registered CM/ECF participants
as identified on the Notice of Electronic Filing.

                                                  /s/ Thomas C. Frongillo
                                                  Thomas C. Frongillo




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